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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO
                                  Judge Philip A. Brimmer

  Civil Action No. 14-cv-03349-PAB-NYW

  ROBERT A. PFAFF,

           Plaintiff,

  v.

  UNITED STATES OF AMERICA,

           Defendant.


                                       FINAL JUDGMENT


           Pursuant to and in accordance with Fed. R. Civ. P. 58(a), all Orders entered

  during the pendency of this case, and the Order entered by the Honorable

  Philip A. Brimmer, United States District Judge, on March 10, 2016,

           IT IS ORDERED that the United States’ Motion to Dismiss [Docket No. 18]

  pursuant to Fed. R. Civ. P. 12(b)(1) is GRANTED.

           IT IS FURTHER ORDERED that plaintiff’s claims for relief are dismissed for lack

  of subject matter jurisdiction.

           IT IS FURTHER ORDERED that Final Judgment is entered in favor of defendant

  and against the plaintiff and the case is dismissed in its entirety.

           IT IS FURTHER ORDERED that defendant may have its costs by filing a Bill of

  Costs with the Clerk of the Court within fourteen days of entry of the March 10, 2016

  Order.

                   Dated at Denver, Colorado, this 10th day of March, 2016.
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                                          BY THE COURT:

                                          JEFFREY P. COLWELL, CLERK

                                          By: s/Deborah Hansen
                                          Deborah Hansen, Deputy Clerk
